                         Case 17-01234-LMI         Doc 90     Filed 07/01/19     Page 1 of 2




        ORDERED in the Southern District of Florida on June 28, 2019.




                                                              Laurel M. Isicoff
                                                              Chief United States Bankruptcy Judge
_____________________________________________________________________________




                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION

        In re:
                                                                              Case No. 16-25954- LMI
                                                                              Chapter 7
        JORGE HANE,

                      Debtor.            /

        COLTEFINANCIERA, S.A. and                                             Adv. Pro. No. 17-01234-LMI
        BLUE BANK INTERNATIONAL, N.V.,

                      Plaintiff,
        v.

        JORGE HANE,

                      Defendant.             /

                   ORDER GRANTING MOTION FOR JUDGMENT ON PARTIAL FINDINGS

                 This matter came before the Court on June 24, 2019 on Defendant Jorge Hane’s (the “Defendant”)

        Ore Tenus Motion for Judgment on Partial Findings pursuant to Rule 7052 of the Bankruptcy Rules of

        Procedure (the “Motion”). The Court, having considered the Motion and the arguments presented by
                 Case 17-01234-LMI         Doc 90      Filed 07/01/19      Page 2 of 2



counsel for the Defendant and counsel for Plaintiffs Coltefinanciera, S.A. and Blue Bank International,

S.A., orders as follows:

        1. The Motion is granted for the reasons stated on the record.

        2. The Court shall enter a judgment in favor of Defendant on Count II and Count III of Plaintiffs’

Amended Complaint (D.E. #32).

Submitted by:

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Attorney Hoffman shall serve a copy of the signed order on all parties served with the motion and shall
file with the court a certificate of service conforming with Local Rule 2002-1(F).
